                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION


UNITED STATES OF AMERICA,                             )
                                                      )
                                 Plaintiff,           )
vs.                                                   )        No. 19-04031-01-CR-C-BCW
                                                      )
WESLEY BRIAN KASTER,                                  )
                                                      )
                                 Defendant.           )

                                      SENTENCING MEMO

          Comes now defendant, Wesley Brian Kaster, by counsel Troy K. Stabenow, and

joins the government in recommending a sentence of 60 months’ confinement.

                                 SUGGESTIONS IN SUPPORT

          1.       Mr. Kaster is forty-three years old.   He is a dedicated father of four

(see e.g. Exhibit 1), the husband of a disabled spouse, and the sole provider for his

family. 1      He voluntarily served our country in the Armed Forces for eight years. 2      He

has no criminal history. 3      He earned a Bachelor’s Degree in Applied Science 4 and was a

supervisor at his job until he committed this offense. 5

          2.       Guideline 2K1.4 would recommend a sentence of 37 to 46 months given




1
    PSIR at Paragraphs 38-44.
2
    Id. at 60.
3
    Id at 32, 38-44.
4
    Id. at 54.
5
    Id. at 57.

                                                  1




             Case 2:19-cr-04031-BCW Document 35 Filed 07/04/20 Page 1 of 3
the characteristics of this first-time offense. However, the mandatory minimum requires a

higher sentence, of at least 60 months’ confinement.

       3.       In light of Mr. Kaster’s lack of criminal history, and the fact that the

mandatory minimum is above the Guideline Range, the parties have agreed that a

sentence of 60 months’ total confinement is sufficient but not greater than necessary to

encompass all the factors described in 18 U.S.C. § 3553(A).

       4.       Counsel is not aware of any issues requiring argument or resolution.

       WHEREFORE, defendant, Wesley Brian Kaster, respectfully requests this Court

to impose a total sentence of 60 months’ confinement and one year of supervised release.

                                             Respectfully submitted,

                                             /s/ Troy K. Stabenow
                                             TROY K. STABENOW, # 57067
                                             Assistant Federal Public Defender
                                             80 Lafayette Street, Suite 1100
                                             Jefferson City, Missouri 65101
                                             (573) 636-8747
                                             Attorney for Defendant
July 4, 2020




                                                2




            Case 2:19-cr-04031-BCW Document 35 Filed 07/04/20 Page 2 of 3
                             CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of July, 2020, I electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF system, which sent e-

mail notification of such filing to all CM/ECF participants in this case, and a copy was

mailed, via the United States Postal Service, to all non-CM/ECF participants.

                                           /s/ Troy K. Stabenow
                                           TROY K. STABENOW




                                              3




        Case 2:19-cr-04031-BCW Document 35 Filed 07/04/20 Page 3 of 3
